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Form CGFCRD3Z (01/14/23)

                                United States Bankruptcy Court
                                         Southern District of Florida
                                          www.flsb.uscourts.gov
                                                                                       Case Number: 24−22321−RAM
                                                                                       Chapter: 7

In re:
 Georges Lisabeth Jean Baptiste
 aka Georges Lisabeth Jeanbaptiste, aka Georges Lisabeth Herard
 13505 NE 14TH AVE
 Miami, FL 33161
 SSN: xxx−xx−4465


                                            NOTICE OF HEARING
PLEASE TAKE NOTICE that a hearing will be held before the Honorable Robert A Mark to consider the
following:

[10] Expedited Motion to Continue the Automatic Stay Filed by Debtor Georges Lisabeth Jean
Baptiste.

1.   This matter has been set on the Court's motion calendar for a non−evidentiary hearing. The allotted
     time for this matter is ten minutes. The hearing will be held:

     Date:         December 18, 2024
     Time:         10:00 AM
     Location:     Video Conference by Zoom for Government

2.   The hearing scheduled by this notice will take place only by video conference. DO NOT GO TO THE
     COURTHOUSE. Attorneys must advise their clients not to appear at the courthouse. Although
     conducted by video conference, the hearing is a court proceeding. The formalities of the courtroom
     must be observed. All participants must dress appropriately, exercise civility, and otherwise conduct
     themselves in a manner consistent with the dignity of the Court.

3.   To participate in the hearing, you must register in advance no later than 3:00 p.m., one business day
     before the date of the hearing. To register, click on or enter the following registration link in a browser:

     https://www.zoomgov.com/meeting/register/vJIsduqrrTIsGwLENmZWZhscEHry3et9jXQ

4.   The movant, or movant's counsel if represented by an attorney, must:

             (a) serve a copy of this notice of hearing and, unless previously served, the above−described
                 document(s) on all required parties within the time frame required by the Federal Rules of
                 Bankruptcy Procedure, the local rules of this Court, and orders of the Court, and

             (b) file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B).

     Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be
     heard thereon.

5.   PLEASE NOTE: No person may record the proceedings from any location by any means. The audio
     recording maintained by the Court will be the sole basis for creation of a transcript that constitutes the
     official record of the hearing.

Dated: 12/9/24                                              CLERK OF COURT
                                                            By: Jacqueline Antillon
                                                            Courtroom Deputy
